 

 

Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 1 of 42

02-CV-01178-EXH
 

 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 2 of 42

The Honorable Barbara Jacobs Rothstein

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

 

UNITED STATES OF AMERICA, }
)
Plaintiff ) Civil Action No. CV02-1178R
)
v. ) APPENDIX A TO THE CONSENT
j DECREE BETWEEN THE UNITED
SHELL PIPELINE COMPANY LP fka_) STATES OF AMERICA AND
EQUILON PIPELINE COMPANY LLC ) SHELL PIPELINE COMPANY LP
and OLYMPIC PIPE LINE COMPANY, ) fka EQUILON PIPELINE
) COMPANY LLC (OTHER RELIEF)
Defendants. }
)
L. DEFINITIONS
1. The terms used in this Appendix shall have the meaning assigned to them in Paragraph 4

of the Consent Decree to which this Appendix is attached. Whenever terms listed below

are used in this Appendix or in the Exhibits attached to this Appendix, the following

definitions shall apply:
a. “AGA” shall mean the American Gas Association. ‘
b. “AGA Project PR-3-805” shall mean an AGA publication entitled “A Modified

Criterion for Evaluating the Remaining Strength of Corroded Pipe,” December,

1989, a copy of which is attached to, and incorporated into this Appendix as

Exhibit 1.
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 3 of 42

 

1 c. “Analyzed ILI Data” shall mean a final written report from an ILI Vendor or other
2 qualified employee or agent of Shell analyzing raw data from an ILI to identify
3 suspected or predicted defects and anomalies.
4 d. “APT” shall mean American Petroleum Institute.
5 e. “API RP 1110” shall mean a document entitied “Pressure Testing of Liquid
6 Petroleum Pipelines,” API Recommended Practice 1110, 4" Edition,
March, 1997, a copy of which is attached to, and incorporated into this Appendix
’ as Exhibit 2.
$ f. “APT 1161” shall mean a document entitled “Guidance Document for the
7 Qualification of Liquid Pipeline Operations and Maintenance Personnel,”
10 API Publication 1161, 1° Edition, August, 2000, a copy of which is attached to,
It and incorporated into this Appendix as Exhibit 3.
12 g. “API 1130” shail mean a document entitled “Computational Pipeline
13 Monitoring,” API 1130, First Edition, October, 1995, a copy of which is attached
14 to, and incorporated into this Appendix as Exhibit 4.
15 h. “ASME” shall mean the American Society of Mechanical Engineers.
16 i. “ASME B31.4-2002” shall mean a document entitled “Pipeline Transportation
17 Systems for Liquid Hydrocarbons and Other Liquids, ASME Code for Pressure
18 Piping,” 2002 edition, a copy of which is attached to, and incorporated into this
19 Appendix as Exhibit 5.
30 j- “ASME B31G-1991” shall mean a document entitled “Manual for Determining
the Remaining Strength of Corroded Pipelines, A Supplement to ASME B31
1 Code for Pressure Piping,” 1991 edition, a copy of which is attached to, and
°2 incorporated into this Appendix as Exhibit 6.
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 4 of 42

 

 

“Cathodic Protection System” shall mean a system to prevent the corrosion of a
metal surface by making that surface the cathode of an electrochemical cell with
the use of impressed current or galvanic anodes.

“Commercially Navigable Waterway” shall mean a commercially navigable
waterway as defined and identified pursuant to 49 C.F.R. §§ 195.450, 195.452.
“RFRD” shall mean an emergency flow restricting device that either is a check
valve (a type of valve that permits fluid flow in one direction only), or a valve that
can be remotely operated from another monitoring or control location, including
an existing vaive that will be converted to a remotely operated valve that can be
operated from another monitoring or control location.

“Engineering Judgment” shail mean judgment based on the application of
scientific and mathematical principles to the design, construction, operation, and
maintenance of pipeline systems, with such judgment exercised by a suitably
qualified person.

“Excavation Activity” shall mean digging, deep plowing, blasting, boring,
directional drilling, other trench-less excavation methods, clearing, grading,
ditching, tunneling, dredging, back-filling, the removal of above-ground
structures by either explosive or mechanical means, and other earth moving
operations.

“Excavator” shall mean any person or entity engaging in Excavation Activity.
“Exposed Pipe” shall mean any pipe at or above any body of water or at or above
ground level, unless (1) the pipe was intentionally designed and intentionally
installed above ground (a) to traverse land; (b) as an overhead crossing of a body
of water, a highway, a railroad, or similar structure; (c) as a span over a ditch or
gully; (d) as part of a scraper trap or block valve; or (e) within a fenced area

owned, leased, or maintained by Shell constituting a pump station, tank farm,

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 5 of 42

metering facility, delivery facility, or junction; and (2) the pipe is protected from
the forces exerted by the anticipated loads.

r. “High Consequence Area” shall mean a high consequence area as defined and
identified pursuant to 49 C.FLR. §§ 195.450, 195.452.

s. “ILY’ shall mean in-line inspection.

t. “TLI Vendor” shall mean a vendor in the business of performing ILIs of hazardous
liquid pipelines using IL] tools that generate data regarding suspected defects on
hazardous liquid pipelines and providing analysis of the data. ©

u. “Independent Monitoring Contractor” or “IMC” shall mean the Independent
Monitoring Contractor selected pursuant to Section XIV of this Appendix.

Vv. “Metal Loss Tool” shall mean a high resolution magnetic flux leakage tool or an
alternative tool selected pursuant to Paragraph 5 of this Appendix.

WwW. “MOP” shall mean maximum operating pressure.

X. “NACE” shall mean National Association of Corrosion Engineers.

y. “NACE RPO169-2002” shall mean a document entitled “Standard Recommended
Practice: Control of External Corrosion on Underground or Submerged Metallic
Piping Systems,” NACE RP0169-2002, originally approved in 1969, reaffirmed
in 2002, a copy of which is attached to, and incorporated into this Appendix as
Exhibit 7.

Zz. “One-Call System” shall mean a notification system through which a person can
notify owners and operators of underground lines or facilities of proposed
excavations. ‘

aa. “Pipeline” shall mean all main transmission line portions of Shell Pipeline
Systems comprising line pipe.

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 6 of 42

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“Responsible Corporate Officer” shall mean the person or persons designated by
Shell to perform relevant decision-making functions, and who has authority to
sign documents on behalf of Shell with respect to the Decree.

“Supervisory Control and Data Acquisition (SCADA) System” shall mean a
computer-based communications system that gathers, processes, and displays data
from field instrumentation and allows an operations controller to execute control
functions;

“Semester” shall mean either the period from January 1 through June 30 of any
calendar year, or the period from July 1 through December 31 of any calendar
year,

“Shallow Cover Pipe” shall mean any portion of the Pipeline that crosses under a
Commercially Navigable Waterway and which has a depth of cover of less than
24 inches.

“Shell Pipeline Systems” shall mean the pipeline systems commonly referred to
as the East Line Products, North Line Products, Chase Kansas Products, Chase
Colorado Products, and Orion Products pipeline systems that are used for
transporting petroleum products, and include approximately 2139 miles of
pipeline running in the States of Texas, Oklahoma, Colorado, Kansas, Ohio,
Illinois, and Indiana and associated structures and buildings used for operations
and administration, control equipment, pumps, valves, breakout storage tanks,
and other equipment used in the operation of the pipeline systems, and any like
additions to the Sheil Pipeline Systems made during the pendency of this Consent
Decree. The term does not include facilities such as refineries, lube plants, and
marine and distribution terminals that are connected to, or associated with the
pipelines but which perform separate functions such as storage or blending.

“SMYS” shail mean the specified minimum yield strength.

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Washington, D.C. 20044-7611
-5- Telephone: 202-305-0300

 

 
 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 7 of 42

1 hh.  “Top-Side of the Pipeline” shall mean the portion of the Pipeline above the

2 8:00 o’clock and 4:00 o’clock positions on any part of the Pipeline.

3 | IL CONSTRUCTION OF THIS APPENDIX

2. If compliance with applicable provisions of ASME, NACE, AGA, or API publications

4

5 would prevent compliance with this Consent Decree, Shell shall comply with this

6 Consent Decree. If compliance with this Consent Decree or with applicable provisions of

ASME, NACE, AGA, or API publications would prevent compliance with applicable

’ laws and regulations, Shell shall comply with applicable laws and regulations. All

8 references to ASME, NACE, AGA, or API publications in this Appendix shall be

7 construed to be specific to the documents incorporated by reference herein and attached
10 as Exhibits to this Appendix, and no such references shall be mterpreted to include, or
Mi require compliance with, any modifications or amendments to any such documents
12 subsequent to the versions attached as Exhibits to this Appendix.

13 | 10.  ILIs, EVALUATIONS, EXCAVATIONS, AND RESPONSE REQUIREMENTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

14 A. Pipelines Covered

15 | 3. The Pipeline consists of the segments described in the table below.

16 Pipeline System Segment Nominal Length

Pipe Size (miles)

17 Chase Kansas Products Sunset-Eldorado 8" 2.0

18 Chase Kansas Products | Eldorado-Hudson 10" 107.0
Chase Kansas Products Hudson-Scott City 10" 146.0

19 Chase Colorado Products | Scott City-Aurora 10" 228.0

20 Chase Colorado Products | AuroratoDIA 10" 17.7
Chase Colorado Products | Sunset to Eldorado 16" 2.0 *

71 Chase Colorado Products | Eldorado to MP44 10" 44.0

23 Chase Colorado Products | MP44 to Scott City 12" 185.0
East Line Products Wood River to Zionsville {| 12" 225.0

23 East Line Products Zionsville to Lima Ta" 127.0

4 North Line Products Wood River to Peotone 14" 220.0

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-6- Telephone: 202-305-0300

 

 

 
 

 

 

Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 8 of 42

 

 

 

 

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North Line Products Peotone to Argo 14" 32.0
North Line Products Peotone to East Chicago | 14" 28.0
North Line Products Argo to Des Plaines 14" 27.0
Orion Products East Houston to 16" 174.8
Orion Products Corsicana to Frost 20" 23.0
Orion Products Frost to Clyde 16" 163.0
Orion Products ‘Clyde to Abilene 14" 10.0
Orion Products Abilene to Tye 16" 8.0
Orion Products Tye to Stanton 16" 116.0
Orton Products Stanton to Midland 14" 16.0

‘| Orion Products Midland to Odessa 12" 25.0
Orion Products Frost to Underwood 12" 69.5
Orion Products Underwood to Henrietta. | 12" 89.1
Orion Products Henrietta to Duncan 12" 48.5
Orion Products Underwood to Pride 12" 3.0
Orion Products Pride to Aledo 6" 2.0

 

 

 

 

B. ILIs Using Both Deformation and Metal Loss Tools

1. General Requirements

4. For each ILI required by this Appendix, Shell shail ensure that each ILI Vendor calibrates

the inspection tool in accordance with applicable ILI Vendor standards and that each ILI

Vendor provides verification of the calibration to Shell.

5. Whenever Shell uses a magnetic flux leakage tool for an ILI required by this Appendix,

Shell shall use a high resolution magnetic flux leakage tool. Shell may use a Metal Loss

Tool other than a magnetic flux leakage tool if:

a. The alternative Metal Loss Tool is more appropriate, in the exercise of reasonable
+

Engineering Judgment, considering the circumstances; and

b. Shell informs EPA of the technical basis for selecting the alternative Metal Loss

Tool before conducting the ILI.

APPENDIX A - CV02-1 178R
Draft - December 27, 2002

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 9 of 42

2. ILI Schedule
Shell shall complete [Lls during 2003 using both a Metal Loss Tool and a deformation
ILI tool on the following segments of the North Line Products Pipeline System within
Shell Pipeline Systems: Peotone to East Chicago 14" and Argo to Des Plaines 14". For
the 2003 ILIs, Shell may utilize any Analyzed ILI Data or other information from ILIs
conducted on or after January 1, 2002.
Shell shall complete ILIs during 2003 using beth a Metal Loss Tool and a deformation
ILI tool on the following segments of the Orion Products Pipeline System within Shell
Pipeline Systems: Walnut Springs to Clyde 16" (sub-segment), and Frost to Underwood
12". For the 2003 ILIs, Shell may utilize any Analyzed ILI Data or other information
from ILIs conducted on or after January 1, 2002.
Shell shali complete [LIs during 2007 using both a Metal Loss Tool and a deformation
ILI tool on the following segments of the Orion Products Pipeline System within Shell
Pipeline Systems: Abilene to Tye 16", Clyde to Abilene 14" and Frost to Walnut Springs
16"(sub-segment).
Sheli shall complete ILIs during 2003 using both a Metal Loss Tool and a deformation
ILI tool on the following segments of the Chase Colorado Products Pipeline System
within Shell Pipeline Systems: Scott City to Aurora 10", Eldorado to MP44 10", and
MP44 to Scott City 12". For the 2003 ILIs, Shell may utilize any Analyzed ILI Data or
other information from ILIs conducted on or after January 1, 2002.
Shell shall complete ILIs during 2003 using both a Metal Loss Tool and a deformation
ILI tool on the following segments of the East Line Products Pipeline Systenr within
Sheli Pipeline Systems: Wood River to Zionsville 12" and Zionsville to Lima 12". For
the 2003 ILIs, Shell may utilize any Analyzed ILI Data or other information from ILIs

conducted on or after January 1, 2002.

APPENDIX A - CV02-1 178R. United States Department of Justice
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Washington, D.C. 20044-7611
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 10 of 42

Shell shall complete an ILI during 2003 using both a Metal Loss Tool and a deformation
ILT tool on the Wood River to Peotone 14" segment of the North Line Products Pipeline
System within Shell Pipelme Systems. For the 2003 ILI, Shell may utilize any Analyzed
ILI Data or other information from ILIs conducted on or after January 1, 2002.

Shell shall complete ILIs during 2003 using both a Metal Loss Tool and a deformation
ILI tool on the following segments of the Orion Products Pipeline System within Shell
Pipeline Systems: Tye to Stanton 16", Stanton to Midland 14", Underwood to Henrietta
12", and Henrietta to Duncan 12". For the 2003 ILIs, Sheil may utilize any Analyzed ILI
Data or other information from ILIs conducted on or after January 1, 2002.

Sheil shall perform an ILI during 2004 using both a Metal Loss Tool and a deformation
ILI tool on the Aurora to DIA 10" segment of the Chase Colorado Products Pipeline
System within Shell Pipeline Systems.

Shel] shall perform an ILI during 2004 using both a Metal Loss Tool and a deformation
ILI tool on the Midland to Odessa 12" segment of the Orion Products Pipeline System
within Shell Pipeline Systems.

Shell shall perform an ILI during 2005 using both a Metal Loss Tool and a deformation
ILI tool on the East Houston to Corsicana 16" segment of the Orion Products Pipeline
System within Shell Pipeline Systems.

Shell shall perform ILIs during 2006 using both a Metal Loss Tool and a deformation ILI
tool on the following segments of the Chase Kansas Products Pipeline System within
Shell Pipeline Systems: Eldorado to Hudson 10" and Hudson to Scott City 10".

Shell shall perform an ILI during 2006 using both a Metal Loss Tool and a deformation
ILI tool on the Corsicana to Frost 20" segment of the Orion Products Pipeline System

within Shell Pipeline Systems.

APPENDIX A - CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611

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-9- Telephone: 202-305-0300

 

 
 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 11 of 42

c. Evaluation Requirements

Within | year after completing any ILI required by this Appendix, Shell shall obtain

Analyzed ILI Data and shall use reasonable Engineering Judgment to complete an

evaluation of that data and other appropriate and adequate information to identify

predicted or suspected defects or anomalies described in Paragraph 24 of this Appendix.

The date of completion of the evaluation required by this Paragraph shall be deemed the

Date of Discovery of the predicted or suspected defects or anomalies identified in the

evaluation.

D. Excavation and Response Requirements

After Shell completes any evaluation required by Paragraph 18 of this Appendix, and

within the time required by Paragraphs 20-22 of this Appendix, Shel! shall:

a. excavate and perform a visual inspection and further evaluation to confirm the
existence of any defects or anomalies described in Paragraph 24 of this Appendix
at each location where such defects or anomalies were predicted or suspected as a
result of the evaluation performed pursuant to Paragraph 18 of this Appendix; and

b. repair, remove, or replace, any portion of the Pipeline for which visual inspection
and further evaluation confirms the existence of any of the defects or anomalies
described in Paragraph 24 of this Appendix.

Excavation and Response Schedule for Pipeline Within a High Consequence Area. For

all Pipeline covered by an ILI required by this Appendix and within a High Consequence

Area, Shell shall complete all excavation and response requirements in the preceding

Paragraph within 9 months from the Date of Discovery as defined in Paragraph 18 of this

Appendix, unless Shell has reasonably determined, pursuant to Paragraph 25 of this

Appendix, that a reinterpretation of the Analyzed ILI Data is required or that a new ILI

must be performed.

APPENDIX A - CV02-1178R United States Department of Justice
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 12 of 42

 

 

 

1 | 21. Excavation and Response Schedule for Pipeline Not Within a High Consequence Area.
2 For al! Pipeline covered by an ILI required by this Appendix and not located within a
3 High Consequence Area, Shell shall complete all excavation and response requirements
4 in Paragraph 19 of this Appendix within 18 months from the Date of Discovery as
5 defined in Paragraph 18 of this Appendix, unless Shell has reasonably determmed,
6 pursuant to Paragraph 25 of this Appendix, that a reinterpretation of the Analyzed ILI
Data is required or that a new ILI must be performed.
; 22. Immediate Excavation and Response Requirements. Notwithstanding.the schedule for
: excavation and repairs in Paragraphs 20 and 21 of this Appendix and pursuant to
? Paragraph 19 of this Appendix, as soon as safely possible after the Date of Discovery of
10 predicted or suspected defects or anomalies that would meet the description in
i Subparagraphs a-d of this Paragraph, Shell shall temporarily reduce the operating
12 pressure at the location of the predicted or suspected defect or anomaly (1) to 80% of the
13 MOP; or (2) in the case of a defect or anomaly described in Subparagraph b of this
14 Paragraph, based on the predicted burst pressure calculated in accordance with
15 ASME B31G-1991 or AGA Project PR-3-805, until Shell has further evaluated the
16 suspected defect or anomaly and completed any required responses. After reducing the
17 operating pressure in accordance with the requirements of the preceding sentence, within
18 120 Days after the Date of Discovery, Shell shall excavate the predicted or suspected
19 defect or anomaly and repair, remove, or replace any defect or anomaly, as defined in this
30 Paragraph , confirmed by visual examination and further evaluation following
excavation, after which the temporary pressure reduction required by the preceding
* sentence shall no longer be required. The defects or anomalies subject to these
2 requirements are:
23 a. metal loss greater than or equal to 80% of the nominal wall thickness regardless
2A of pipe dimension;
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APPENDIX A - CV02-1178R United States Department of Justice
26 | Draft - December 27, 2002 | Post Office Box 7611
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 13 of 42

b. any defect or anomaly for which a calculation of the remaining strength of the
pipe shows a predicted burst pressure less than the established MOP at the
location of the defect or anomaly as determined by the calculation methods in:

i. ASME B31G-1991;

il. AGA Project PR-3-805; or

ill. upon approval by EPA, which approval may not unreasonably be
withheld, any other suitable calculation method;

cC, a dent on the Top-Side of the Pipeline that has an indication of metal loss,
cracking, or a Stress riser; and

d. a dent on the Top-Side of the Pipeline with a depth exceeding 6% of the nominal
pipe diameter.

23. Shell shall perform the repair, removal, or replacement of any portion of the Pipeline
pursuant to Paragraphs 19-22 of this Appendix in accordance with the standards in

ASME B31.4-2002 Parts 451.6.2 and 451.6.3.

E. Response Standards

24. In accordance with the schedule in Paragraphs 20-22 of this Appendix, Shell shall repair,
remove, or replace any portion of the Pipeline that has any of the following defects or
anomalies:

a, dents of any size containmg a scratch, crack, gouge, or groove;

b. dents of any size that have an indication of metal loss, cracking, or a stress riser;

c. dents of any size that affect pipe curvature at the pipe seam or at any girth weld;

d. dents exceeding a depth of 6% of the nominal pipe diameter; ‘

e. corrosion of, or along, seam welds;

f. any defect or anomaly for which a calculation of the remaining strength of the
pipe using the criterion in ASME B31G-1991 or AGA Project PR-3-805 shows a

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Draft - December 27, 2002 Post Office Box 7611

Washington, D.C. 20044-7611
-12- Telephone: 202-305-0300

 

 
 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 14 of 42

predicted burst pressure less than or equal to 100% of the SMYS of the affected

pipe;

g. metal loss greater than 50% of the nominal wall thickness in areas of general
corrosion;

h. metal loss greater than 50% of the nominal wall thickness that is located at the

crossing of another pipeline, or is in an area with widespread circumferential
corrosion, or is in an area that could affect a girth weld;
i. metal loss greater than or equal to 80% of the nominal wall thickness regardless

of pipe dimension;

j. weld anomalies with metal loss greater than 50% of nominal wall thickness;
k. cracks of any size;

L gouges, and grooves of any size;

m. arc burns of any size;

n. localized corrosion pitting as defined by ASME B31.4 § 451.6.2(a)(7); or
Q. any defect or anomaly for which a calculation of the remaining strength of the
pipe shows a predicted burst pressure less than the established MOP at the
location of the defect or anomaly as determined by the caiculation methods in:
i. ASME B31G-1991;
ii. AGA Project PR-3-805; or
ill. upon approval by EPA, which approval may not unreasonably be
withheld, any other suitable calculation method.
Nothing in this Appendix shall be or is intended to be an admission or concession by
Shell that any of the conditions set forth in this Paragraph or in Paragraph 22 of this
Appendix, if not immediately corrected, would likely result in a failure of the Pipeline or

a release of petroleum products from that Pipeline.

APPENDIX A -CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611
Washington, D.C. 20044-7611
-13- Telephone: 202-305-0300

 
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 15 of 42

F. Reinterpretation of ILI Data or Performance of New ILI
25, If during excavation or visual inspection and further evaluation of the predicted or
suspected defects or anomalies identified pursuant to Paragraph 18 of this Appendix,
Shell has a reasonable basis to determine that the anomalies described in the Analyzed
ILI Data are characterized incorrectly or otherwise do not allow a reasonably accurate
identification of defects or anomalies described in Paragraph 24 of this Appendix, Shell
may, based on reasonable Engineering Judgment, elect to cease excavation and
evaluation activities and consult with the ILI Vendor to determine whether to require a
reinterpretation of the Analyzed ILI Data or to perform a new ILI. If Shell elects to cease
excavation and evaluation activities, Shell shall notify EPA and the Independent
Monitoring Contractor of the election no later than 60 Days before the original deadline
for completing the excavation and response.
a. Within 60 Days after the date that Shell notifies EPA and the Independent
Monitoring Contractor of its election to cease excavation and response activities,
Shell shall either:
i. submit to EPA and the Independent Monitoring Contractor a written
commitment to complete a reinterpretation and new evaluation of the
Analyzed ILI Data and report to EPA and the Independent Monitoring
Contractor the results of the new evaluation, including the Date of
Discovery of any defects or anomalies pursuant to the new evaluation,
within 90 Days of the date of the written commitment; or
il. submit to EPA and the Independent Monitoring Contractor a written
commitment to conduct a replacement ILI within 270 Days of the date of
the written commitment. .
b. If Shell elects to complete a reinterpretation and new evaluation of the Analyzed
ILI Data in accordance with the Subparagraph a.i of this Paragraph, and
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 16 of 42

recommences excavation and response activities and reasonably determines that
the remterpretation and new evaluation of the Analyzed ILI Data still improperly
characterizes the defects or anomalies or otherwise does not allow a reasonably
accurate identification of defects or anomalies described in Paragraph 24 of this
Appendix, Shell shall submit to EPA and the Independent Monitoring Contractor
a written commitment to conduct a replacement ILI within one year of the date of
the commitment pursuant to Subparagraph a.1 of this Paragraph to complete a
reinterpretation and new evaluation of the Analyzed ILI Data.

c. Whenever Shell proceeds with a replacement ILI pursuant to this Paragraph, Shell
shall complete a new evaluation of the Analyzed ILI Data from the replacement
ILI, and other appropriate and adequate information, within the time required by
Paragraph 18 of this Appendix, and shall complete any required excavations,
repairs, removals, or replacements within the time required by Paragraphs 20-22
of this Appendix.

G. Dispute Resolution Regarding Shell’s Obligations
Pursuant to Paragraphs 18 through 25 of this Appendix

26. Shell shall include a written Notice of Completion in the Semianntal Progress Report for
the Semester in which Shell completes all evaluation, excavation, and response actions
required by Subsections HI.C and IID of this Appendix for a particular Pipeline
segment,

a. Within 120 Days of the date of any Semiannual Progress Report containing a
Notice of Completion described in the preceding sentence, or at any time before
receiving the Notice of Completion, EPA may submit to Shell a written Notice of

Review stating that EPA secks further review of all or part of Sheli’s evaluation,

excavation, and response actions for a Pipeline segment.

APPENDIX A - CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 17 of 42

b. Within 30 Days of the date of any Notice of Review, or such longer period to
which EPA and Shell agree in writing, Shell shall meet with EPA and, at EPA’s
option, any authorized representatives or EPA contractors, to discuss EPA’s
concerns,

C. Within 30 Days after the conclusion of any meeting required by the preceding
sentence, EPA may issue to Shell a written preliminary Notice of Dispute briefly
describing the elements of the dispute.

d. Within 20 Days after the date of any preliminary Notice of Dispute, Shell may
submit to EPA a written response.

€. If EPA does not rescind a preliminary Notice of Dispute in writing within 45
Days of such notice, or such longer period to which EPA and Shell agree in
writing, the preliminary Notice of Dispute shall become final.

f. Within 10 Working Days after a Notice of Dispute becomes final, a petition for
review may be filed with the Court to resolve the dispute. In any such
proceeding, the Court will determine whether Shell’s evaluation or response
actions meet the requirements of Paragraphs 18-25 of this Appendix.

g. Notwithstanding any other provisions of this Appendix or the Consent Decree,
the dispute resolution procedures described in this Paragraph shall be the
exclusive mechanism for resolving disputes arising under Paragraphs 18
through 25 of this Appendix except as otherwise provided in this Subparagraph.
If the United States has not invoked the dispute resolution procedures in this
Paragraph, however, the United States may invoke any available procedure other
than the dispute resolution procedures in Section XTH (Dispute Resolution) of the
Consent Decree to resolve any issue arising under Paragraphs 18 through 25 of

the Appendix.

APPENDIX A - CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 18 of 42

H. Extensions of Time to Complete Evaluation and Response Actions

If Shell cannot complete the evaluation or response actions in the time required by
Paragraphs 18, 20-22 and 25 of this Appendix despite reasonable and diligent efforts to
do so, Shell may submit a written request for an extension of time to EPA, specifying the
number of Days of the requested extension, at least 45 Days before the expiration of the
relevant deadline. After receiving a written request for an extension of time from Shell
pursuant to this Paragraph, EPA shall provide Shell with a written response in which

EPA may, in its discretion, either grant or deny, in whole or in part, the requested

. extension of time. EPA shall not unreasonably deny a request for extension of time

pursuant to this Paragraph. If EPA provides Shell with a written response denying
Shell’s request for an extension of time, the original deadline will remain in effect unless
the date that Sheil receives EPA’s letter denying the extension of time is less than

30 Days before, or at any time after, the original deadline, in which case Shell shall be
required to complete the evaluation or response actions within 30 Days of the date that
Shell receives EPA’s denial.

I. Data Submission and Record Retention Requirements

Within 10 Days after receiving any request from EPA for a copy of any ILI data or
Analyzed ILI Data, Shell shall submit the requested ILI data or Analyzed ILI Data to
EPA.

Record Retention. Shell shall retain all ILI data and Analyzed ILI Data in accordance
with the record retention provisions of Section XVI of the Consent Decree.
PRESSURE TESTING ‘

Shell shall perform either an ILI pursuant to the requirements of Section IH of this
Appendix, or a hydrostatic test during 2003 in accordance with the standards and

requirements of ASME B31.4-2002, Paragraph 437.4.1 and API RP 1110, on the Sunset

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 19 of 42

to Eldorado 8" segment of the Chase Kansas Products Pipeline System within Shell

Pipeline Systems.

Shell shall perform either an ILI pursuant to the requirements of Section ID of this

Appendix, or a hydrostatic test during 2003 in accordance with the standards and

requirements of ASME B31.4-2002, Paragraph 437.4.1 and API RP 1110, on the Sunset

to Eldorado 16" segment of the Chase Colorado Products Pipeline System within Shell

Pipeline Systems.

Shell shall perform either an ILI pursuant to the requirements of Section III of this

Appendtx, or a hydrostatic test during 2003 and in accordance with the standards and

requirements of ASME B31.4-2002, Paragraph 437.4.1 and API RP 1110, on the

following segments of the Orion Products Pipeline System within the Shell Pipeline

Systems: Underwood to Pride 12" and Pride to Aledo 6".

Shell shall complete either an ILI pursuant to the requirements of Section IU of this

Appendix, or a hydrostatic test during 2007 in accordance with the standards and

requirements of ASME B31.4-2002, Paragraph 437.4.1 and API RP 1110, on the Peotone

to Argo 14" segment of the North Line Products Pipeline System within Shell Pipeline

Systems. |

Response Requirements. If a pressure test reveals a Pipeline leak, Sheli shall:

a. repair or replace the portion of the Pipeline segment where the leak occurred in
accordance with the standards in ASME B31.4-2002 Parts 451.6.2 and 451.6.3;
and

b. retest the affected portion of the Pipeline segment in accordance with the
applicable standards of 49 C.F.R. Part 195, if required.

Record Retention. Shell shall retain all records related to pressure testing of segments of

Pipeline within Shell Pipeline Systems in accordance with the record retention provisions

of Section XVI of the Consent Decree.

APPENDIX A - CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 20 of 42

CLOSE INTERVAL SURVEYS

Performance Standard for Cathodic Protection. Shell shall maintain a Cathodic
Protection System on all Pipeline within Shell Pipeline Systems in accordance with
NACE RPO169-2002. Shelli shall follow corrosion control criteria in

NACE RPO169-2002 including one or more of the criteria and other conditions for
cathodic protection in section 6 of NACE RP0O169-2002.

Close Interval Surveys. Shell shall. complete one close interval survey on all Pipeline
within Shell Pipeline Systems within 4 years of the Effective Date of the Consent Decree.
Shell shall perform the close interval survey in accordance with NACE RP0169-2002 at
maximum intervals of four feet (maintaining an overall system-wide average no greater
than three feet) excluding areas in which such an interval is impracticable such as paved
areas and railroads. Sheil shall perform the close interval survey in a manner sufficient to
determine whether or not the Cathodic Protection System conforms with the criteria
referenced in the preceding Paragraph for all locations surveyed. Shell may utilize any
data or other information from the close interval survey conducted during 2002 to mect
the requirements of this Paragraph.

Corrective Action. If any portion of the Pipeline within Shell Pipeline Systems does not
meet the performance standard referenced in Paragraph 36 of this Appendix, Shell shall
perform all corrective action necessary to comply with that standard within 2 years after
completing the close interval survey required by the preceding Paragraph.

Rotating Disk Visual Indicator Requirements. Within 3 years after the Effective Date of
the Consent Decree, Shell shall install rotating disc visual indicators on all rectifiers
within Shell Pipeline Systems. Within 1 year after installing the rotating disk visual
indicators, and annually thereafter until the Consent Decree is terminated, Shell shall

complete an on the ground survey to check the rotating disk visual indicator on each

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 21 of 42

rectifier to determine whether or not the Cathodic Protection System is operating
properly.

40. Rectifier Inspections. Beginning 6 months after the Effective Date of the Consent Decree
until it is terminated, at intervals not exceeding 2’ months, but at least six times each
calendar year after the initial year, Shell shall inspect each of its cathodic protection
rectifiers to determine whether or not the Cathodic Protection System is operating
properly.

VL PIPELINE RIGHT-OF-WAY SURVEYS

41. On the Ground Surveys. Within one year of the Effective Date of the Consent Decree,
and once every two years thereafter until the Consent Decree is terminated, Shell shall
complete an on-the-ground survey of the entire Pipeline right-of-way within Shell
Pipeline Systems to:

a. identify all Exposed Pipe;

b. assess the visibility and accessibility of the right-of-way;

c. assess the condition and spacing of pipeline signs; and

d. discover any third party Excavation Activity on, or within 50 feet of, the
right-of-way.

42. Waterway Shallow Cover Inspection. Within six years of the Effective Date of the
Consent Decree, Shell shall inspect each portion of the Pipeline crossing under any
Commercially Navigable Waterway to identify any Shallow Cover Pipe.

43. Aerial Surveys. Beginning 9 months after the Effective Date of the Consent Decree, and
until the Consent Decree is terminated, Shell shall complete weekly aerial surveys of the
entire Pipeline right-of-way within Shell Pipeline Systems if weather, security, and flight
conditions permit. To the extent possible and pursuant to industry standards, the aerial

surveyors shall identify and assess the conditions and activities described in Paragraph 41

of this Appendix.
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-20- Telephone: 202-305-0300

 
 

Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 22 of 42

 

 

1] 44. Exposed Pipe. Sheil shali, within 180 Days after completing the survey required by
2 Paragraph 41 of this Appendix, conduct an inspection of any Exposed Pipe discovered
3 during the survey to determine whether or not the Exposed Pipe has any of the defects or
4 anomalies described in Paragraph 24 of this Appendix unless Shell needs to obtain a
5 permit or access before conducting the inspection. If Shell needs to obtain a permit or
6 access before conducting the inspection, Shell shall (1) apply for the permit within
90 Days after completing the survey in which the Exposed Pipe was discovered; and
’ (2) conduct the inspection within 180 Days after obtaining the necessary permit or access.
. If an inspection confirms the existence of any such defect or anomaly, Shell shall repair,
. remove, or replace the Exposed Pipe in accordance with the standards referenced in
10 Paragraph 23 of this Appendix and in accordance with the applicable schedule required
1 by Paragraphs 20-22 of this Appendix, using the date of inspection as the Date of
2 Discovery. Shell shall, at the time of any such repair, removal, or replacement, evaluate
13 the risk of outside force damage to the Exposed Pipe, and in areas susceptible to outside
14 force damage shall either (1) restore the cover to the standards in ASME B31.4-2002,
15 Table 434.6(a); or (2) install physical protective measures necessary to provide
16 reasonable assurance of safety and integrity of the Pipeline. For all other Exposed Pipe
7 locations, Shell shall annually inspect such locations in accordance with this Paragraph.
i8 45, Shallow Cover Pipe. Within 18 months after Shell discovers Shallow Cover Pipe during
19 the inspection required by Paragraph 42 of this Appendix, Shell shali either:
30 a. restore the cover to the standards in ASME B31 4-2002, Table 434.6(a); or
b. with EPA’s prior written approval, mitigate the Shallow Cover Pipe in a manner
a sufficient to provide reasonable assurance of safety and integrity of the Pipeline.
22 46. Pipeline Visibility and Accessibility. Within one year after completing the initial survey
23 required by Paragraph 41 of this Appendix, and once every two years thereafter until the
24 Consent Decree is terminated, to the extent practicable, Shell shall mow, clear brush, and
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 23 of 42

perform all other actions necessary to ensure that the entire Pipeline right-of-way is
visible and accessible for effective emergency response, Pipeline maintenance,
inspection, and survey activities.

Pipeline Signs. Within two years of the Effective Date of the Consent Decree, and once
every two years thereafter, Shell shall, as practicable, install, repair, clear vegetation
obscuring, or replace, as necessary, pipeline signs directly above or in close proximity to
the buried Pipeline so that, to the extent practicable, at least one pipeline sign is visible
fromm any point along the Pipeline right-of-way.

EMERGENCY FLOW RESTRICTIVE DEVICES

Shell EFRD Analysis. Within one year after the Effective Date of this Consent Decree,
using its proprietary spill model, surge analysis, and other appropriate information or
data, Shell shal] complete an analysis to determine appropriate locations for installation
of EFRDs that will provide additional protection to the public or the environment.
EFRD Installation. Within 4 years of the Effective Date of the Consent Decree, Shell
shall install 8 EFRDs within Shell Pipeline Systems that will provide additional
protection to the public or the environment.

COMPUTATIONAL PIPELINE MONITORING SYSTEM LEAK DETECTION
TESTING

Testing Requirement. Within 180 Days after the Effective Date of the Consent Decree,
Shell shall conduct a computational pipeline monitoring (CPM) system test on at least
two of the Pipelines within Sheil Pipeline Systems to determine whether or not the leak
detection capability of the CPM software meets the performance standards and
requirements of applicable regulatory requirements and API 1130. Within one year after
Shell performs the CPM tests described in the preceding sentence, Shell shall perform
one CPM test on each of the Pipelines that have not yet been tested. Following the

completion of the initial CPM tests described in the first two sentences of this Paragraph,

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-22- Telephone: 202-305-0300

 

 
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 24 of 42

Shell shall repeat those CPM tests on all of the pipelines within Shell Pipeline Systems at

least once every two years.

51. Corrective Action. If the testing required by the preceding Paragraph reveals that the leak
detection capability of the CPM software does not meet the performance standards and
requirements of applicable regulatory requirements and API 1130, Shell shall, within
6 months after completing the testing, perform all corrective action necessary to meet
those performance standards and requirements.

IX. DAMAGE PREVENTION PROGRAM

52. Within 180 Days.of the Effective Date of this Consent Decree, Shell shall submit to EPA
and the Independent Monitoring Contractor a written Damage Prevention Pro gram,
which Shell shall implement within the time required by Paragraph 61 of this Appendix.
The Damage Prevention Program shall require Shell to conduct the activities described
below:

a. Shell shall continuously participate in a One-Call System covering each area in
which a Pipeline operated by Shell Pipeline Systems is located.

b. For all Excavation Activity within 50 feet of the Pipeline right-of-way that has
any potential to affect the integrity of the Pipeline of which Shell or its
contractors either knows or should know through a One-Call System, patrolling,
or observation, Shell shail:

1. obtain, if available, daily from the Excavator information regarding the
construction schedule and any changes to the schedule;

2. obtain, if available, daily from the Excavator information regarding the
type of excavation and equipment the Excavator plans to use and any
changes to those plans;

3. obtain, if available, from the Excavator and retain drawings, plans, and
any other documents necessary or helpful to monitor the Excavation

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 25 of 42

Activity, including any documents reflecting any change in the
Excavator’s planned Excavation Activity;

4, ensure that a qualified Shell employee or contractor is physically present
at the construction site to monitor Excavation Activity during the entire
time that Excavation Activity occurs within 50 feet of the Pipeline; and

5. ensure that all Shell employees and contractors that monitor Excavation
Activity prepare a daily written report of the monitored Excavation
Activity, and that such daily reports are retained in Shell’s files in
accordance with the record retention provisions of Section XVI of the
Consent Decree.

C. When portions of the Pipeline are excavated for maintenance or inspection, Shell
shall install warning mesh above the Pipeline at the time that the Pipeline is
reburied.

d. Shell shall ensure that the provisions of the Damage Prevention Program are
incorporated or cross referenced, as appropriate, into Shell’s written procedures
and plans for training, operations, maintenance, and emergencies.

X. MANAGEMENT OF CHANGE PROGRAM

33. Within 180 Days of the Effective Date of this Consent Decree, Shell shall submit to EPA
and the Independent Monitoring Contractor a written Management of Change Program,
which Shell shall implement within the time required by Paragraph 61 of this Appendix.

The Management of Change Program shall require Shell to conduct the activities

described below: ’

a. develop procedures to manage and review all pressure, flow, and control settings
on existing protective devices, and changes to any such devices or their

components within Shell Pipeline Systems;

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Draft - December 27, 2002 Post Office Box 7611
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-24- Telephone: 202-305-0300

 
 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 26 of 42

b. address the following considerations prior to any change:
1. the technical basis for the proposed change including the methodology or

analysis utilized to determine the appropriate settings;

2. the impact of the change on the integrity of the Pipeline;

3. potential modifications to operating procedures in response to the change;
4. necessary time period for the change;

5. authorization requirements for the proposed change; and

6. position, education, and level of experience required for the Shell

employee or officer authorizing the change;

c. inform and train employees whose job duties are affected by the change in
pressure, flow, and control settings of existing or newly installed protective and
control devices;

d. ensure that the provisions of the Management of Change Program, and any
revisions, are incorporated or cross referenced, as appropriate, in Shell’s written
procedures and plans for training, operations, maintenance, and emergencies; and

€. revise applicable engineering drawings and documents, as appropriate, to reflect
each change to pressure, flow, and control settings for existing or newly installed
protective and control devices and maintain records related to each change for the
life of the equipment or facility.

XI. TRAINING PROGRAM
54. Within 180 Days of the Effective Date of this Consent Decree, Shell shall submit to EPA
and the Independent Monitoring Contractor a written Training Program covering

SCADA controllers of Shell Pipeline Systems, which Shell shall implement within the

APPENDIX A -CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 27 of 42

time required by Paragraph 61 of this Appendix. The Training Program shall require the

activities described below:

a, Sheil shall appoint one or more SCADA Controller Training Coordinator(s)
responsible for traming, maintaining training documentation, and ensuring that

Shell complies with ail provisions of this Paragraph.

b. For all new SCADA controllers of Shell Pipeline Systems hired on or after the

Effective Date of this Consent Decree, Shell shall:

I. include in the training required by this Subparagraph classroom and
practical exercises and the use of a pipeline simulator;

2. provide training and qualification testing pursuant to API 1161, specific to
the SCADA system in use that includes responding to abnormal
operations and starting up and shutting down any part of the Shell Pipeline
Systems;

3. test each new SCADA controller’s knowledge of the SCADA system to
ensure that the SCADA controller is capable of exercising sound
Judgment to perform the functions needed during both normal and
abnormal operations; and

4. require the new SCADA controller to work daylight shift for a minimum
of the first two weeks of performing SCADA functions.

c. For all SCADA controllers of Shell Pipeline Systems hired before the Effective

Date of this Consent Decree, Sheil shall:

1. review the training and qualification records of each SCADA controller to
determine whether or not each SCADA controller is capable of exercising
sound judgment to perform the functions needed during both normal and

abnormal conditions; and

APPENDIX A -CV02-1178R United States Department of Justice
Draft - December 27, 2002 ° Post Office Box 7611
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 28 of 42

2. perform remedial training and review for each SCADA controller, if
necessary.
d. Sheil shall ensure that the provisions of the Training Program are cross referenced

in Sheil’s written procedures and plans for training, operations, maintenance, and
emergencies, as applicable.
Audit of the Training Program. Between two and three years after the Effective Date of
the Consent Decree, Shell shall conduct, and prepare a written report of, an audit of
Shell’s SCADA Controller Training Program in accordance with the requirements of
Paragraphs 56 and 57 of this Appendix. Within 15 Days of the date of the written audit
report, Shell shall submit the written audit report to EPA and the Independent Monitoring
Contractor.
Scope of Audit. At a minimum, the audit required by the preceding Paragraph shall
include SCADA controiler interviews and a review of all relevant documents including,
but not limited to:
a. the written SCADA Controller Training Program;
b. SCADA controller training records;
c. SCADA controller training manuals;
d. Shell’s written procedures and plans for SCADA controller training; and
e. Semiannual Progress Reports.
Contents of Audit Report. The written audit report required pursuant to Paragraph 55 of
this Appendix shall include a description of the audit methodology, and also shall
include: , ,
a. a description of the documents reviewed;
b. a list of SCADA controllers interviewed and their titles, and a summary of each
interview; and

c. a description of the audit findings.

APPENDIX A - CV02-1178R United States Department of Justice
Draft - December 27, 2002 Post Office Box 7611

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 29 of 42

PROCEDURE FOR INDEPENDENT REVIEW AND IMPLEMENTATION

OF WRITTEN PROGRAMS REQUIRED PURSUANT TO SECTIONS IX-XI

OF THIS APPENDIX

Independent Review. After receiving from Shell a written program required by

Sections IX, X, or XI of this Appendix, or a revised written program pursuant to

Paragraph 59.a or Paragraph 60 of this Appendix, EPA and the Independent Monitoring

Contractor shall review the written program and EPA shall provide Shell with a written

response that either:

a. states that the written program or revised written program meets the requirements
of the Appendix to the best of EPA’s knowledge and that EPA has no objection to
the written program or revised written program; or

b. requires revisions to the written program or revised written program necessary to
ensure compliance with the Consent Decree and this Appendix.

Shell’s Response. If EPA requires revisions to a written program submitted by Shell

pursuant to Paragraph 58.b of this Appendix, within 30 Days of the date of EPA’s written

response, Shell shall either:

a. make the required revisions and submit a revised written program to EPA; or

b. submit to EPA a written Notice of Dispute pursuant to Paragraph 35 of the
Consent Decree that states Shell’s grounds for disputing any or all of EPA’s
required revisions.

Submission of Revised Written Programs Following Resolution of Disputes. Within

30 Days after resolving any disputes, asserted pursuant to Paragraph 59.b of this

Appendix, regarding any of EPA’s required revisions to any written program; Sheil shall

submit a revised written program to EPA that reflects the resolution of the dispute.

Implementation of Written Programs. Within 30 Days after the date of a written EPA

response pursuant to Paragraph 58.a of this Appendix, Shell shall implement the written

program or revised written program.

APPENDIX A-CV02-1178R United States Department of Justice
Draft - December 27, 2002 ° Post Office Box 7611

Washington, D.C. 20044-7611
-28- Telephone: 202-305-0300

 

 
 

 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 30 of 42

INDEPENDENT MONITORING CONTRACTOR

Shell shall follow the procedure in Section XIV of this Appendix to select, and contract

with, an Independent Monitoring Contractor (IMC) to perform the duties described in

Paragraph 65 of this Appendix. The IMC shall assign no more than 4 qualified

employees to perform these duties.

Shell shall cooperate fully with the IMC and shall facilitate the IMC’s execution of duties

described in Paragraph 65 of this Appendix by providing the IMC with reasonable access

to all relevant records, employees, and the physical Shell Pipeline Systems.

Qualifications. The IMC shall! have one or more employees with demonstrated

qualifications and experience in the technical areas relevant to the duties of the

Independent Monitoring Contractor in Paragraph 65 of this Appendix. With the prior

expressed approval of both EPA and Shell, the Independent Monitoring Contractor may

also contract, as appropriate, with other outside individuals or entities that are qualified to
perform the assigned tasks and satisfy the background requirements of Paragraph 67 of
this Appendix.

Duties of the Independent Monitoring Contractor. The independent Monitoring

Contractor shall perform the following duties:

a. review each Semiannual Report submitted by Shell pursuant to Paragraph 13 of
the Consent Decree, and any other documents that the Independent Monitoring
Contractor or EPA deems necessary, to determine whether or not Shell has
complied with all provisions of the Consent Decree and this Appendix and report
any determinations of non-compliance to Shell and EPA within 30 Days of the
date of each Semiannual Report; provided, however, that the IMC’s duties within
the scope of this Appendix or the Consent Decree shall not include reviewing ILI

data or Analyzed ILI Data;

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 31 of 42

b. Review the programs submitted by Shell pursuant to Sections [X-XI of this
Appendix to recommend any revisions necessary to ensure compliance with the
Consent Decree and this Appendix and submit those recommendations to both
EPA and Shell within 30 Days after the date that Shell submits each proposed
program;

c. review and analyze the written audit report of the Training Program that Shell
submits pursuant to Section XI of this Appendix and notify EPA and Shell of any
determinations of non-compliance with this Appendix revealed by the
Independent Monitoring Contractor’s analysis of the written audit report;

d. on each of the following pipeline systems within Shell Pipeline Systems: East
Line Products, North Line Products, Chase Kansas Products, Chase Colorado
Products, and Orion Products, each calendar year conduct up to one physical site
visit, with up to 4 persons, lasting up to 3 Days for each visit, including employee
or contractor interviews, record review, and inspections and observations of any
activities if deemed appropriate, to assess whether or not Shell is complying with
this Appendix. Absent emergency, any such site visit shall be made at reasonable
times and after reasonable notice to Shell;

e, each calendar year conduct up to one additional physical site visit, with up to
4 persons, lasting up to 3 Days, other than the site visits in the preceding
Subparagraph, on any one of the pipeline systems within Shell Pipeline Systems,
in the unreviewable discretion of the Independent Monitoring Contractor or at the
request of EPA, including employee or contractor interviews, record review, and
inspections and observations of any activities if deemed appropriate, to assess
whether or not Shell is complying with this Appendix;

f confer on request by either Shell or EPA, separately or jointly, to discuss
implementation of this Appendix and to assist in dispute resolution;

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 32 of 42

g. investigate concerns regarding potential noncompliance with this Appendix as
requested by EPA;
h. immediately notify Shell of problems that may affect compliance with this

Appendix, and if the problems are not resolved within 15 Days after the
Independent Monitoring Contractor notifies Shell, notify EPA of the problems,
and summarize those problems in a report to EPA that includes recommendations
regarding how Shell can resolve those problems;

1. immediately notify Shell and EPA of any circumstance that may constitute
noncompliance with this Appendix and summarize those circumstances in a
report to both Shell and EPA that includes recommendations regarding how Shell
can resolve the circumstance;

}- submit an annual report to Shell and EPA within 30 Days after the end of each
calendar year summarizing:

1. site visits that the Independent Monitoring Contractor conducted during

the year pursuant to Subparagraphs d and e of this Paragraph;

2. any problems that may affect compliance with this Appendix;
3. any circumstances that may constitute noncompliance with this Appendix;
and

4. the status of Sheli’s compliance with this Appendix during the year; and
k. any other duties or responsibilities specifically required of the Independent
Monitoring Contractor in the Consent Decree or in this Appendix.

66. Neither Shell nor EPA shall be bound by the recommendations of the Independent

Monitoring Contractor.
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Draft - December 27, 2002 Post Office Box 7611

Washington, D.C, 20044-7611
-31- Telephone: 202-305-0300

 

 
 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 33 of 42

XIV. PROCEDURE FOR SELECTING, CONTRACTING WITH, AND REPLACING
THE INDEPENDENT MONITORING CONTRACTOR

67. Qualifications and Background. The Independent Monitoring Contractor shall have the
qualifications and experience required by Paragraph 64 of this Appendix. The
Independent Monitoring Contractor shall not:

a. be a present employee of Shell, or of any owner, parent corporation, subsidiary, or
predecessor corporation of Shell;

b. have a current financial or ownership interest in any of Shell’s businesses or
operations; or

Cc. be a Shell contractor, or employee of such contractor, hired to implement any
provision of this Appendix other than the provisions of Section XIII (Independent
Monitoring Contractor).

68. Selection Procedure. The Independent Monitoring Contractor shall be selected pursuant
to the procedures described below.

a. Within 30 Days from the Effective Date of this Consent Decree or 30 Days from
the date that the parties agree on the need for a replacement consultant pursuant to
Paragraph 70 of this Appendix, or a final decision affirming the need for a
replacement consultant is rendered pursuant to the dispute resolution procedures
in Section XII (Dispute Resolution) of the Consent Decree, Shell shall submit to
EPA (1) a letter providing the name of a proposed independent consultant that is
willing to serve as the Independent Monitoring Contractor; (2) a resume or
curriculum vitae of each individual who would perform the required work; (3) the
terms of payment for the consultant’s services; and (4) a description of any
current or past financial relationship between the proposed consultant, and the
consultant’s employees who will perform the required work, and Shell or the

related entities specified in the preceding Paragraph, which Shell shall certify as

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-32- Telephone: 202-305-0300

 

 
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 34 of 42

accurate. After receiving such information, EPA shall submit a letter to Shell that
either accepts or rejects the proposed consultant. EPA shall not unreasonably
withhold approval of a proposed consultant. If the letter from EPA accepts the
proposed consultant, Shell shall contract with the consultant to perform the
required work in accordance with the procedure in Paragraph 69 of this
Appendix. If EPA rejects the proposed consultant, Shell shall repeat the
procedure in this Paragraph up to two additional times by recommending another
proposed consultant.

b. If EPA rejects three of Shell’s proposed consultants, EPA shall then submit to
Shell a letter providing (1) the names of at least three proposed independent
consultants who are willing to serve; (2) a resume or curriculum vitae of each of
consultants’ personnel who would perform the required work; and (3) a
description of any current or past financial relationship related to this case
between each proposed consultant and the United States. Shell then shall have 30
Days from the date of such letter to submit to EPA a letter accepting one of the
three proposed consultants or rejecting all of them. If Shell accepts one of the
three consultants proposed by EPA, Shell shall contract with the consultant to
perform the required work in accordance with the procedure in Paragraph 69 of
this Appendix. If Shell rejects all of the consultants proposed by EPA, either
EPA or Shell may invoke the dispute resolution procedures in Section XII
(Dispute Resolution) of the Consent Decree.

69. Contracting Procedure. Within 30 Days of the date of a letter from EPA or Shell
accepting a proposed Independent Monitoring Contractor, or a final decision pursuant to
the dispute resolution procedures in Section XII (Dispute Resolution) of the Consent
Decree designating an Independent Monitoring Contractor, Shell shall draft, and submit

to EPA for approval, a proposed contract obligating the Independent Monitoring

APPENDIX A-CV02-1178R United States Department of Justice
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 35 of 42

Contractor to perform the duties described in Paragraph 65 of this Appendix. Within 15
Days after the date of any letter from EPA notifying Shell of any needed revisions to the
contract with the Independent Monitoring Contractor, Shell shall incorporate, modify, or
reject the revisions and submit the revised contract to EPA for approval. Within 30 Days
of the date of EPA’s written approval of the contract, Shell shall enter into the contract
with the Independent Monitoring Contractor, and submit a copy of the executed contract
to EPA.

Replacement Procedure. Ifthe Independent Monitoring Contractor becomes unable or
unwilling to perform or complete the required work, or for other good cause, Shell and
EPA shall confer in good faith regarding whether or not Shell and EPA need to select a
replacement Independent Monitoring Contractor. If Shell and EPA agree on the need to
select a replacement Independent Monitoring Contractor, Shell and EPA shall select the
replacement Independent Monitoring Contractor in accordance with the selection
procedures in Paragraph 68 of this Appendix. If Shell and EPA do not agree on the need
to select a replacement Independent Monitoring Contractor, either Shell or EPA may
invoke the dispute resolution procedures in Section XIII (Dispute Resolution) of the
Consent Decree.

SEMIANNUAL PROGRESS REPORTS

Semiannual Progress Reports. Beginning on the Effective Date of this Decree and
through and including the Semester in which this Consent Decree is terminated pursuant
to Section XXII (Termination Date), Shell shall submit certified Semiannual Progress
Reports to EPA and the Independent Monitoring Contractor. The first Semiannual
Progress Report shall be due within 45 Days of the close of the first Semester ending
more than 90 Days afier entry of this Consent Decree, with subsequent reports due within

30 Days of the close of each Semester thereafter.

APPENDIX A-CV02-1178R United States Department of Justice
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 36 of 42

Certification Requirement. Shell shall submit the following written certification with

 

each Semiannual Progress Report, signed by a Responsible Corporate Official:

I certify under penalty of law that this submission was prepared under my

direction or supervision in accordance with a system designed to assure that

qualified personnel properly gather and evaluate the information submitted. [

further certify under penalty of law that, to the best of my knowledge, based on

my reasonable inquiry of the person or persons who manage the system, or those
persons directly responsible for gathering the information, the information

submitted is true, accurate, and complete. I am aware that there are significant
penalties for submitting false information, including the possibility of fine and
imprisonment for knowing violations.

Contents of Semiannual Progress Reports. Shell shall include in each Semiannual
Progress Report a statement regarding Shell’s activities during the Semester for each of
the categories described below. [fno information exists for a particular category during
the Semester, Shell nevertheless shall include that category in the report with an
affirmative statement that no information exists for that category and a brief explanation
why no such information exists. Each Semiannual Progress Report shall describe:

a. A summary of all actions Shell has taken to comply with Section II of this

Appendix including (1) ILIs conducted; (2) Analyzed ILI Data received; and

(3) excavations and responses conducted. Additionally, for each defect or

anomaly that Shell excavates or investigates in any way pursuant to Section II of

this Appendix, Shell shall describe:

1. the location of the defect or anomaly including, as applicable, state,
county, city, latitude and longitude, pipeline milepost segment, and any
other information necessary or helpful to precisely identify the location of
the anomaly; '

2. a pipe description including outside diameter, wall thickness, grade,

manufacturer, if known, depth of cover, type of coating, and date of

construction;

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-35- Telephone: 202-305-0300

 

 
 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 37 of 42

3. the date of completion of the ILI that identified the location of the defect
or anomaly;

4. the identity of the ILI Vendor and a description of the ILI tool used;

5. ILI details such as the mspection chart number or other comparable

identifier, odometer number, and defect or anomaly number;

6. a description of the defect or anomaly as represented in the Analyzed ILI
Data report;
7. the Date of Discovery of the defect or anomaly identified Pursuant to

Paragraph 18 of this Appendix;
8. the date that Shell or its agents excavated and further evaluated the defect
or anomaly;
9. a summary of Sheil’s findings of the evaluation for the defect or anomaly
including:
i. the depth of gouges and grooves as a percentage of nominal wall
thickness;
iL. the depth of dents as a percentage of nominal pipe diameter;
ill. whether or not each dent affected pipe curvature or a scam, girth,
or repair weld and, if'so, how;
iv. whether or not each dent contained a scratch, gouge, or groove;
and
(a) the length of each scratch, gouge, and groove; and
{b) the depth of each scratch, gouge, and groove atits deepest
point;
Vv. measurements and other field observations regarding crack

indications; and

APPENDIX A-CV02-1178R United States Department of Justice
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-36- Telephone: 202-305-0300

 

 
 

 

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 38 of 42

 

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vi. the extent of corrosion including its length, its circumferential
extent around the pipe, and the percentage of wall thickness loss at

the deepest point of corrosion; and

10. a statement regarding whether or not the defect or anomaly was repaired,
removed, or replaced, and the reason for any decision not to repair,
remove, or replace the defect or anomaly;

11. adescription of any repair, removal, or replacement, of the defect or
anomaly; and

12. a statement regarding whether or not the evaluation and disposition of
each defect or anomaly complied with this Appendix;

b. a summary of all actions that Shell has taken to comply with Section IV of the

Appendix including:

1. hydrostatic tests conducted;

2. anomalies, leaks, or Pipeline failures discovered during, or resulting from,
any hydrostatic tests conducted; and

3. Pipeline repairs or replacements conducted of anomalies, leaks, or
Pipeline failures discovered as a result of any hydrostatic tests;

c. a summary of all actions that Shell has taken to comply with Section V of the

Appendix regarding close interval surveys including:

1. a summary of the pipeline segments surveyed including location, miles
inspected, and the average lengths of the intervals:
2. the date of the survey; ‘
3. the identity of any contractor used;
4. the results of the survey;
5. whether or not the survey was conducted in accordance with NACE
RPO169-2002;
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 39 of 42

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6. a description of all corrective measures taken as a result of the survey; and
7. a report of any malfunctioning rectifiers discovered and/or repaired;
d. a summary of all actions that Shell has taken to comply with Section VI of the

Appendix including:

 

1. on-the-ground surveys of the Pipeline right-of-way;

2. aerial surveys of the Pipeline right-of-way;

3. Exposed Pipe discovered, remediated, repaired, replaced, or reburied
including:

1. the location of the Exposed Pipe;

li. the existence of any defects or anomalies described in
Paragraph 24 of this Appendix;

lit. repairs, removals, or replacements, if any, made; and

iv. any actions taken to increase the depth of cover or install physical
protective devices;

4, all mowing, brush clearing, and similar activities;

5. activities undertaken to comply with Paragraph 47 of this Appendix and
the date of installation of all Pipeline signs installed, repaired, or replaced
after the Effective Date of the Consent Decree; and

6. third party Excavation Activity discovered and monitored as a result of the
on-the-ground surveys required by Paragraph 4] of this Appendix; aerial
surveys required by Paragraph 43 of this Appendix; or notifications
through a One-Call System; , *

e. a summary of ali actions that Shell has taken to comply with Section VII of the

Appendix including:

1. the location of each EFRD installation:

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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 40 of 42

2. the type or specification of the EFRD installed, including remote operator;
and
3. Shell’s analysis for installing the EFRD at the location selected;

a summary of all actions that Shell has taken to comply with Section VIII of the
Appendix regarding testing of, and corrective action for the computational
pipeline monitoring system including:

1. all tests conducted; and

2. corrective action conducted;

a summary of all actions that Shell has taken to comply with Section IX of the

Appendix including:

1. revisions of Shell’s written procedures and plans for training, operations,
maintenance, and emergencies as such revisions relate to the Damage
Prevention Program, and as appropriate; and

2. third party Excavation Activity that Shell monitored and damage to the
Pipeline that Shell identified during such monitoring;

a summary of all actions that Shell has taken to comply with Section X of the

Appendix including:

1, a brief description of the program and procedures to manage and review
all Shell Pipeline Systems pressure, flow, and control setting changes on
existing or newly installed protective and control devices; and

2. the date of any revision to Shell’s written procedures and plans for Shell
Pipeline Systems to reflect each change, if any, to adjust pressure, flow,

and control settings for existing and newly installed protective and control

devices;
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 41 of 42

i. a summary of all actions that Shell has taken to comply with Section XI of the
Appendix including:
1. revisions of Shell’s written procedures and plans for SCADA controller
training;
2, the specific training, training review, and testing conducted for each of
Shell’s SCADA controllers; and
3. the name and job description of the SCADA Controller Training
Coordinator, the date that the SCADA Controller Training Coordinator
commenced and ended his or her duties, and the name, job description,
and the date duties commenced and ended, of any replacement SCADA
Controller Training Coordinator; and
i a Schedule Exception List of ail actions that Shell was required to complete
during the Semester but which Shel! did not complete within the time period
required by this Appendix. For each action identified in the Schedule Exception
List, Shell shall:
1. briefly explain why the action was not timely completed, including
whether or not Shell claims that a force majeure event as defined in
Section XII of the Consent Decree prevented timely completion;
2. state an anticipated completion date for the action; and
3. state whether or not an extension of the compliance date was requested
from EPA and, if so, any disposition of that request.
XVI. EXHIBITS
74, The following exhibits are attached to, and incorporated into this Appendix:
“Exhibit 1” is AGA Project PR-3-805.
“Exhibit 2” is API RP 1110.
“Exhibit 3” is API 1161.
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Case 2:02-cv-01178-BJR Document 34-2 Filed 06/30/03 Page 42 of 42

“Exhibit 4” is API RP 1130.
“Exhibit 5” is ASME B31.4-2002.
“Exhibit 6” is ASME B31G-1991.
“Exhibit 7” is NACE RP0O169-2002.

APPENDIX A - CV02-1178R
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